Case 20-14640      Doc 11     Filed 07/29/20 Entered 07/29/20 14:02:48            Desc Main
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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 IN RE:                                       )
                                              )       CASE NO. 20 B 14640
 Joseph O Givens,                             )       HON. Judge Timothy A Barnes
                                              )       CHAPTER 13
                DEBTOR.                       )

                                     NOTICE OF MOTION

 TO: Marilyn O Marshall, 224 South Michigan Ste 800, Chicago, IL 60604;
 See Attached List via U.S. Mail.

        Please take notice that on August 6, 2020, at 1:30 p.m. I shall appear before the
 Honorable Judge Timothy A Barnes, or any judge sitting in stead and present the attached
 motion.

        This motion will be presented and heard telephonically. No personal appearance
 in court is necessary or permitted. To appear and be heard telephonically on the motion,
 you must set up and use an account with Court Solutions, LLC. You can set up an account
 at www.Court- Solutions.com or by calling Court Solutions at (917) 746-7476.

         A party who objects to this motion and wants it called must file a Notice of
 Objection no later than two (2) business days before the presentment date. If a Notice of
 Objection is timely filed, the motion will be called on the presentment date. If no Notice
 of Objection is timely filed, the court may grant the motion without a hearing before the
 date of presentment.

                                      PROOF OF SERVICE

 I, the undersigned, certify that I caused this Notice and a copy of the attached document(s)
 to be served upon the entities named above by depositing the same in the U.S. Postal
 Service’s mail box at 20 S. Clark Street, Chicago, IL 60603,July 29, 2020, except that the
 Trustee and any other party indicated in the Notice of Filing were served electronically by
 the court on such date.

                                                                   Respectfully Submitted,
                                                                 ___/s/ Alexander Nohr___
                                                                        Attorney for Debtor
                                                               The Semrad Law Firm, LLC
                                                               20 S. Clark Street, 28th Floor
                                                                         Chicago, IL 60603
                                                                            (312) 913-0625
                  Case 20-14640   Doc 11     Filed 07/29/20            Entered 07/29/20 14:02:48     Desc Main
Label Matrix for local noticing            U.S. Document
                                                Bankruptcy Court Page 2 of 5              (p)AMERICAN AIRLINES FEDERAL CREDIT UNION
0752-1                                     Eastern Division                               ATTN ATTN LEGAL
Case 20-14640                              219 S Dearborn                                 14050 FAA BLVD
Northern District of Illinois              7th Floor                                      FORT WORTH TX 76155-2114
Eastern Division                           Chicago, IL 60604-1702
Wed Jul 29 08:12:02 CDT 2020
Aafcu                                      Aaron’s Furniture                              Atlas Acquisitions LLC (Snap Finance)
PO BOX 619001 MD2100                       4830 W. Diversey Ave                           294 Union St
DALLAS, TX 75261-9001                      Chicago, IL 60639-1774                         Hackensack, NJ 07601-4303



Bmo Harris                                 Check N Go                                     City Of Chicago Department Of Revenue
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Madison, WI 53701-1111                     Cincinnati, OH 45236-4197                      Chicago, IL 60602-1252



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2700 Ogden Ave                             P.O. Box 7346                                  4095 Avenida De La Plata
Legal Dept                                 Philadelphia, PA 19101-7346                    Oceanside, CA 92056-5802
Downers Grove, IL 60515-1703


Northwestern Medicine                      Nprto Illinois, Llc                            Payday Loan Store
676 N Saint Clair St Lbby 100              256 West Data Drive                            1 S Wacker Dr Fl 36
Chicago, IL 60611-3123                     Draper, UT 84020-2315                          Chicago, IL 60606-4603



Portfolio Recov Assoc                      Portfolio Recovery Associates, Llc C/O Capit   (p)PROG LEASING LLC
120 Corporate Blvd, Ste 1                  Pob 41067                                      256 WEST DATA DRIVE
Norfolk, VA 23502-4952                     Norfolk, VA 23541-1067                         DRAPER UT 84020-2315



(p)SPRINT NEXTEL CORRESPONDENCE            TCF                                            Tea Olive, Llc
ATTN BANKRUPTCY DEPT                       1405 XENIUM LN N STE 180                       P.O. Box 1931
PO BOX 7949                                Minneapolis, MN 55441-4406                     Burlingame, CA 94011-1931
OVERLAND PARK KS 66207-0949


U S Dept Of Ed/Gsl/Atl                     (p)US BANK                                     Villagebrook Apartments
P.O. Box 2287                              PO BOX 5229                                    278 E. St. Charles
Atlanta, GA 30301-2287                     CINCINNATI OH 45201-5229                       Carol Stream, IL 60188-2311



Wells Fargo                                Wisconsin Dcfs C/O Celica Crook                Wisconsin Department Of Children And Familie
P.O. Box 48724                             201 E Washington Ave                           P.O. Box 8916
Kansas City, MO 64188                      Madison, WI 53703-2866                         201 East Washington Avenue, Second Floor
                                                                                          Madison, WI 53703-2866
                  Case 20-14640           Doc 11       Filed 07/29/20            Entered 07/29/20 14:02:48           Desc Main
Joseph O Givens                                      Marilyn O Marshall
                                                          Document           Page 3 of 5                  Megan Swenson
1147 N Austin Blvd                                   224 South Michigan Ste 800                           The Semrad Law Firm, LLC
Apt 3B                                               Chicago, IL 60604-2503                               20 S. Clark 28th Floor
Chicago, IL 60651-2503                                                                                    Chicago, IL 60603-1811


Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Aafcu                                                Progressive Leasing                                  Sprint
14050 Faa Blvd                                       10619 South Jordan Gateway # 100                     P.O. Box 219554
Fort Worth, TX 76155                                 South Jordan, UT 84095                               Kansas City, MO 64121



Us Bank                                              End of Label Matrix
425 Walnut Street                                    Mailable recipients    33
Cincinnati, OH 45202                                 Bypassed recipients     0
                                                     Total                  33
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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 IN RE:                                       )
                                              )       CASE NO. 20 B 14640
 Joseph O Givens,                             )       HON. Timothy A Barnes
                                              )       CHAPTER 13
          DEBTOR.                             )

                     MOTION TO EXTEND AUTOMATIC STAY

          NOW COMES Joseph O Givens, Debtor, by and through Debtor’s attorneys, The

 Semrad Law Firm, LLC, and moves this Honorable Court to extend the automatic stay, and

 in support thereof states as follows:

          1.    That the Debtor filed a petition for relief pursuant to Chapter 13 Title 11

                U.S.C on July 28, 2020.

          2.    That this case has not yet been confirmed by this Honorable Court.

          3.    That the Debtor filed a prior Chapter 13 case, case 20 B 05737, which was

                filed on February 29, 2020 and was later dismissed on July 20, 2020. Please

                see attached Exhibit A for Debtor’s Affidavit. Please see Exhibit B for prior

                I & J schedules. Please see Exhibit C for Debtor’s current I & J schedules.

          4.    Debtor’s prior case was dismissed for Unreasonable delay.

          5.    In the prior case, Debtor lost his employment in March due to the Covid-19

                pandemic.

          6.    In the prior case, due to the loss of income, Debtor was unable to afford his

                household expenses and Trustee payments.
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           7.    In the prior case, Debtor failed to have his plan confirmed in a timely

                 manner.

           8.    As a result, the case was dismissed.

           9.    In the current case, Debtor has gained new employment on July 27, 2020.

           10.   In the current case, Debtor is able to maintain his household expenses and

                 monthly plan payments timely.

           11.   In the current case, Debtor has filed his taxes and is aware that a failure to

                 provide all the required documentation will lead to the dismissal of the case.

           12.   In the current case, Debtor’s monthly plan payments will be made pursuant

                 to a Payroll Control Order.

           13.   In the current case, Debtor is in a position to proceed and has filed this case

                 in good faith.

 WHEREFORE, Debtor, Joseph O Givens, prays this Honorable Court for the following

 relief:

           A.    That this Honorable Court enter an Order extending the automatic stay, for

                 the reasons set forth in this Motion; and

           B.    For such other and further relief this court deems just and proper.



                                                                     Respectfully Submitted,
                                                                   ___/s/ Alexander Nohr___
                                                                          Attorney for Debtor
                                                                 The Semrad Law Firm, LLC
                                                                 20 S. Clark Street, 28th Floor
                                                                           Chicago, IL 60603
